
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH 



NO. 2-04-204-CV

TIMOTHY W. KINNEY	APPELLANT





V.



JESUS MELGAREJO &nbsp;	APPELLEE





----------

FROM COUNTY COURT AT LAW NO. 3 
OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

On January 10, 2005, we notified appellant that his brief had not been filed as required by rule 
38.6(a). &nbsp;
Tex. R. App. P
. 38.6(a). &nbsp;We stated we would dismiss the appeal for want of prosecution unless appellant or any party desiring to continue this appeal filed with the court within ten days a response showing grounds for continuing the appeal. &nbsp;We have not received any response.



Because appellant’s brief has not been filed, we dismiss the appeal for want of prosecution. &nbsp;
See
 T
EX
. R. A
PP
. P. 38.8(a)(1), 42.3(b).

Appellant shall pay all costs of this 
appeal, for which let execution issue.



PER CURIAM 		





PANEL D:	WALKER, J.; CAYCE, C.J.; and MCCOY, J.



DELIVERED: February 17, 2005

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




